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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

IN RE:
CATHY MICKENS                                                       BCN #: 19-31323-KLP
Debtor                                                              Chapter: 7
Address: 2621 Reba Court
Glen Allen, VA 23060
Last four digits of Social Security No.(s): XXX-XX-2707

                            NOTICE OF MOTION AND HEARING

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.

        If you do not wish the Court to grant the relief sought in this motion, or if you want the
Court to consider your views on this motion, then within fourteen (14) days from the date of
service of this motion, you must file a written response explaining your position with the Court at
the following address: Clerk of Court, United States Bankruptcy Court, 701 East Broad Street,
Room 4000, Richmond, VA 23219-3515, and serve a copy on the Movant. Unless a written
response is filed and served within this fourteen day period, the Court may deem any opposition
waived, treat the motion as conceded, and issue an Order granting the requested relief without
further notice or hearing.

       If you mail your response to the Court for filing, you must mail it early enough so the
Court will receive it on or before the expiration of the fourteen day period.

       You may attend the preliminary hearing scheduled to be held on: July 24, 2019 at 9:00
AM in Courtroom 5100, United States Bankruptcy Court, 701 East Broad Street, Richmond, VA
23219.




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       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an Order granting the requested relief.


SHAPIRO & BROWN, LLP                                        Dated: June 26, 2019
ATTORNEYS FOR THE MOVANT


/s/ Nicole McKenzie_______________
BY: Gregory N. Britto, Esquire, VSB #23476
Malcolm B. Savage, III, Esquire, VSB #91050
William M. Savage, Esquire, VSB #26155
Thomas J. Gartner, Esquire, VSB #79340
Mary F. Balthasar Lake, Esquire, VSB #34899
Renee Dyson, Esquire, VSB #93282
Nicole McKenzie, Esquire, VSB #93990
SHAPIRO & BROWN, LLP
501 Independence Parkway, Suite 203
Chesapeake, Virginia 23320
(703) 449-5800
VABECF@logs.com

                                  CERTIFICATE OF SERVICE


        I certify that I have this 26th day of June, 2019, electronically transmitted and/or mailed
by first class mail, postage pre-paid, a true copy of the foregoing Notice of Motion to the
following:

Boleman Law Firm, P.C.
P.O. Box 11588
Richmond, VA 23230

ROY M. TERRY, JR.
P.O. BOX 2188
RICHMOND, VA 23218-2188

Cathy Mickens
2621 Reba Court
Glen Allen, VA 23060


/s/ Nicole McKenzie
Gregory N. Britto, Esquire, VSB #23476
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                                 United States Bankruptcy Court
                                  Eastern District of Virginia
                                      Richmond Division

In Re:                                              BCN#: 19-31323-KLP
Cathy Mickens                                       Chapter: 7
        Debtor
Nationstar Mortgage LLC d/b/a Mr. Cooper
or present noteholder,
        Movant/Secured Creditor,                    Motion for Order Granting Relief from
v.                                                  Automatic Stay under 11 USC §362
Cathy Mickens
        Debtor
and
ROY M. TERRY, JR.
        Trustee
        Respondents

       Nationstar Mortgage LLC d/b/a Mr. Cooper, and/or present noteholder, (hereinafter “the

Movant”), alleges as follows:

       1.        That the bankruptcy court has jurisdiction over this contested matter pursuant to

28 U.S.C. § 157 and § 1334 and 11 U.S.C. § 362; Federal Rule of Bankruptcy Procedure 9014;

and Local Bankruptcy Rule 4001(a)-1.

       2.        That the above named Debtor filed a Chapter 7 Petition in Bankruptcy with this

Court on March 13, 2019.

       3.        That ROY M. TERRY, JR. has been appointed by this Court as the Chapter 7

Trustee in this instant Bankruptcy proceeding.

       4.        Movant, Nationstar Mortgage LLC d/b/a Mr. Cooper, is the current holder of the

Subject Note secured by the subject Deed of Trust. The original Deed of Trust holder was

Nationstar Mortgage LLC d/b/a Mr. Cooper, with Mortgage Electronic Registration Systems,

Inc., as beneficiary, solely as nominee for the Lender. The beneficial interest in the aforesaid

Deed of Trust has been assigned to the Movant as evidenced by the Assignment dated June 10,




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2019. The Note was originated by Nationstar Mortgage LLC d/b/a Mr. Cooper. A copy of the

Assignment, Deed of Trust, and Note are attached hereto and incorporated herein by reference.

       5.        That the subject Mortgage secures a parcel of real property (hereinafter “the

Property”) with the address of 11443 145Th Street, Jamaica, NY 11436 and more particularly

described in the Mortgage dated September 4, 2018 and recorded as Deed Instrument Number

2018000315903 among the land records of the said city/county, as:


       ALL that certain plot, piece or parcel of land, situate, lying, and being in the
       Fourth Ward of the Borough and County of Queens, City and State of New York,
       bounded             and             described              as           follows:

       BEGINNING at a point on the easterly side of 145th Street, distant 299 feet 10
       inches southerly from the corner formed by the intersection of the easterly side of
       145th     Street    with    the     southerly   side     of     114th     Avenue;

       RUNNING THENCE easterly and parallel with the southerly side of 114th
       Avenue and part of the distance through a party wall, 100 feet;

       THENCE southerly and parallel with the easterly side of 145th Street, 14 feet 2
       inches;

       THENCE westerly and again parallel with the southerly side of 114th Avenue and
       again part of the distance through a party wall, 100 feet;

       THENCE northerly along the easterly side of 145th Street, 14 feet 2 inches to the
       point or place of BEGINNING.

       6.        That the Movant is informed and believes, and, based upon such information and

belief, alleges that title to the Property is currently vested in the name of the Debtor.

       7.        That the Debtor is in default with regard to payments which have become due

under the terms of the Note and Mortgage.

       As of June 19, 2019 the Debtor is due for:
       o         4 monthly payments from January 2019 through April 2019 of $1,896.46 each
                 which were to be paid directly to Movant;
       o         2 monthly payments from May 2019 through June 2019 of $1,939.20 each which
                 were to be paid directly to Movant;
       o         Bankruptcy Fees of                                            $750.00
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       o         Bankruptcy Costs of                                       $181.00


       8.        That the Movant has elected to initiate foreclosure proceedings on the Property

with respect to the Mortgage, but is prevented by the Automatic Stay from going forward with

these proceedings.

       9.        That continuation of the automatic stay pursuant to 11 U.S.C. § 362(a) will work

real and irreparable harm and deprive the Movant of the adequate protection to which it is

entitled under 11 U.S.C. § 362.

       10.       That the Movant has requested that the Court hear this matter on July 24, 2019 at

9:00 AM.




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       WHEREFORE, Movant prays for an order granting relief from the Automatic Stay in

order to pursue its remedies under the terms of its Note and Mortgage, that the fourteen (14) day

waiting period imposed by F.R.B.P. 4001(a)(3) be waived, for its attorneys fees’ and costs

expended, and for such other and further relief as the Court and equity deem appropriate.

SHAPIRO & BROWN, LLP                                        Dated: June 26, 2019
ATTORNEYS FOR THE MOVANT




/s/ Nicole McKenzie__________________
BY: Gregory N. Britto, Esquire
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                                       Certificate of Service



       I certify that I have this 26th day of June, electronically transmitted and/or mailed by first
class mail, true copies of the Motion for Relief from the Automatic Stay and Notice of Motion
and Hearing to each party required to receive notice.

Veronica D. Brown-Moseley
Boleman Law Firm, P.C.
P.O. Box 11588
Richmond, VA 23230

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P.O. BOX 2188
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